
961 A.2d 552 (2008)
406 Md. 577
Petition for REINSTATEMENT TO the PRACTICE OF LAW OF Robin Keith Annesley FICKER.
Misc. Docket AG No. 83, September Term, 2007.
Court of Appeals of Maryland.
December 8, 2008.
Robin Keith Annesley Ficker, Boyds, for Petitioner.
Melvin Hirshman, Bar Counsel for Atty. Grievance Com'n, for Respondent.
Argued before BELL, C.J., HARRELL, BATTAGLIA, GREENE, MURPHY, ADKINS and BARBERA, JJ.

ORDER
This matter came on before the Court on the Petition for Reinstatement of Robin Keith Annesley Ficker and the response of Bar Counsel, and
The Court having considered the Petition and response, it is this 8th day of December, 2008
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that Robin Keith Annesley Ficker be, and he is hereby reinstated to the practice of law in this State; and it is further
ORDERED that the Clerk of the Court shall replace the name of Robin Keith Annesley Ficker upon the register of attorneys entitled to practice law in this State and certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
